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                         Exhibit 114

                March 26, 2024 Notice
                Delivery Confirmation
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From:        TrackingUpdates@fedex.com
To:          Josh Weiner
Subject:     FedEx Shipment 775695471409: Your package has been delivered
Date:        3/28/2024 10:41:00 AM
CC:
BCC:

Message:
Warning: External email, use care with links & attachments




               Hi. Your package was
           delivered Thu, 03/28/2024 at
                      9:34am.



                 Delivered to 10805 OLD MILL RD, OMAHA, NE 68154

                             OBTAIN PROOF OF DELIVERY




                     Delivery picture not showing? View in browser.




                                            1
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                  How was your delivery ?




              TRACKING NUMBER            775695471409


                             FROM        SPARTA Insurance Holdings, Inc
                                         5 Batterson Park Road
                                         3rd Floor
                                         FARMINGTON, CT, US, 06032


                               TO        Pennsylvania Insurance Company
                                         Jeffrey A. Silver
                                         10805 OLD MILL RD
                                         OMAHA, NE, US, 68154


                         SHIP DATE       Tue 3/26/2024 05:55 PM


                  DELIVERED TO           Shipping/Receiving


                PACKAGING TYPE           FedEx Envelope


                            ORIGIN       FARMINGTON, CT, US, 06032


                   DESTINATION           OMAHA, NE, US, 68154


              SPECIAL HANDLING           Deliver Weekday


              NUMBER OF PIECES           1


         TOTAL SHIPMENT WEIGHT           0.50 LB


                  SERVICE TYPE           FedEx 2Day®




                                     2
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                                                    FedEx Delivery
                                                    Manager® puts you
                                                    in control
                                                    Enroll for free and get more visibility
                                                    and control for your deliveries from
                                                    start to finish. And if you need to
                                                    make a return, our network of
                                                    10,000+ locations makes drop off
                                                    easy.


                                                    ENROLL NOW




FOLLOW FEDEX




   Please do not respond to this message. This email was sent from an unattended mailbox.
This report was generated at approximately 9:40 AM CDT 03/28/2024.


All weights are estimated.


To track the latest status of your shipment, click on the tracking number above.


Standard transit is the date and time the package is scheduled to be delivered by, based on the
selected service, destination and ship date. Limitations and exceptions may apply. Please see
the FedEx Service Guide for terms and conditions of service, including the FedEx Money-Back
Guarantee, or contact your FedEx Customer Support representative.


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  Thank you for your business.




Attachments:
      DeliveryPicture.jpeg




                                         4
